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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 IN THE MATTER OF:                                )
                                                  )
 GARY E. PETTIFORD, SR.,                          )    CASE NO. 16-11924
                                                  )    Chapter 7
                         DEBTOR.                  )




                                TRUSTEE’S INVENTORY
                         AND REQUEST FOR NOTICE TO CREDITORS



        Martin E. Seifert, duly qualified Trustee of the above-captioned Debtor's estate, submits this

inventory and report of property of the estate of the Debtor.

        1.      All of the non-exempt assets of the estate of which he is presently aware, together

with approximate values (exact values for assets in the Trustee’s possession), but with no value

shown where valuation is problematical or possession disputed, are as follows:

        (a)     Prorated portion of 2016 federal and state tax refunds - value unknown.
        (b)     Annual bonus from employer, GM - value unknown

        2.      This inventory and report of property is made pursuant to Federal Rule of Bankruptcy

Procedure 2015 and lists the property of the estate. Some of the property listed, or portions thereof,

may not materialize into assets of the estate of sufficient value to economically reduce to cash.

        3.      Pursuant to Federal Rule of Bankruptcy Procedure 3002(c)(5), Martin E. Seifert,

Trustee, requests that the Bankruptcy Clerk notify creditors that a payment of dividend appears

possible in this case.
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           I certify under the penalty of perjury that the foregoing inventory and report of property of

the estate is true.

           Dated: October 26, 2016

                                                               Respectfully submitted,

                                                               CHAPTER 7 TRUSTEE
                                                               444 EAST MAIN STREET
                                                               FORT WAYNE, INDIANA 46802
                                                               TELEPHONE: (260) 426-0444
                                                               FAX: (260) 422-0274
                                                               EMAIL: mseifert@hallercolvin.com

                                                               BY: /s/ Martin E. Seifert
                                                                  MARTIN E. SEIFERT
                                                                  I.D. #16857-02


                                               CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and exact copy of the above and foregoing
Trustee’s Inventory and Request for Notice to Creditors has been sent electronically by the Court’s
electronic filing service this 26th day of October, 2016, to:

                      Bruce E. McLane, Esq.
                      McLanelaw@aol.com
                      United States Trustee
                      USTPRegion10.SO.ECF@usdoj.gov


                                                               /s/ Martin E. Seifert
                                                               MARTIN E. SEIFERT




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